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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


DEBORAH D. PETERSON,
Personal Representative
Of The Estate Of
James C. Knipple (Deceased), et al.
                    Plaintiffs




              v.                                           Civil Action#1:01CV02094(RCL)



THE ISLAMIC REPUBLIC OF IRAN, et al.
               Defendants



                          REPORT OF SPECIAL MASTER
                       PURSUANT TO ORDER OF REFERENCE
                   CONCERNING COUNTS CDXXXVII THROUGH CDXL
                            THOMAS PAUL THORSTAD
                             STAFF SERGEANT USMC


       In accordance with the Order of Reference entered pursuant to the provisions of Federal

Rule 53, the Special Master has received evidence with regard to all issues of compensatory

damages from witnesses as below set forth. This is an action for wrongful death resulting from an

act of state-sponsored terrorism. The following findings of fact are based upon the sworn testimony

and documents entered into evidence in accordance with the Federal Rules of Evidence and have

been established by clear and convincing evidence.
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                                       FINDINGS OF FACT

               (1) Thomas Paul Thorstad was born on July 18, 1956 in the United States of

America and was at birth and remained until his death, a citizen of the United States. Mr. Thorstad

entered the military on September 9, 1974, attended the U.S. Army Intelligence School, and on

October 23, 1983 he held the rank of Staff Sergeant in the United States Marine Corps and was a

member of the 24th MAU, First Battalion, 8th Regiment.

       (2) On October 23, 1983, the building housing the Marine Battalion at Beirut was attacked

by a suicide bomber operating a truck which penetrated to the center of the building where the

operator detonated a large explosive charge completely collapsing the building resulting in the

deaths of 241 American Service personnel, including this decedent.

       (3) As a result of the explosion, decedent, Thomas P. Thorstad, suffered severe injuries,

which resulted in his death.

       (4) The official service death certificate, admitted as an official record, indicated that the

death of the decedent was due to a terrorist attack at Beirut, Lebanon on October 23, 1983.

       (5) The records available and the testimony of witnesses indicate that prior to death, there is

no evidence from which the Special Master can make any finding that the decedent suffered bodily

pain or suffering as a result of his injuries and death appears to have been instantaneous.

       (6) As a result of the death of Thomas Paul Thorstad’s, his estate suffered a loss of

accretions to the estate which could have been expected to occur during the course of his

anticipated life. These losses are the subject of a report under oath from Dr. Jerome Paige and are

supported by Dr. Paige’s testimony given by videotape. They have been reduced by Dr. Paige to

present value in accordance with District of Columbia v. Barriteau, 399 A.2d 563 (D.C. App.




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1979). Based upon the foregoing, the amount of loss to the estate is in the amount of

$1,921,086.00.

       (7) As the result of the death of Thomas P. Thorstad, his widow, children, father, mother,

and his surviving siblings have suffered and will continue to suffer severe mental anguish and the

loss of society. The testimony established that his widow, children, father, mother, and siblings

have never recovered from the shock and suffered severe emotional trauma from Thomas

Thorstad’s death in Beirut. They are participants in various memorial programs for the victims of

October 23, 1983 and are vigorous supporters of those programs.

                                               OVERVIEW

       Through compelling, complete and consistent testimony and exhibits, the surviving heirs of

Thomas Paul Thorstad, have clearly provided overwhelming facts which detailed the life of

Thomas Paul Thorstad, including his schooling, parental and sibling relationships, home

environment, marriages, births, health problems, tragedies of this large Irish Catholic family. The

testimony provides a history how the Thorstad family evolved from child rearing to the extended

family it is today. The inescapable conclusion of this testimony and evidence is that James

Thorstad, Sr. and Barbara Thorstad, Tom’s parents, recognized that each of their eight children had

different personalities, different strengths and weaknesses.      Tom’s parents embraced these

differences, and were able to maintain a cohesive family unit.

       Every one of the Thomas Thorstad’s sisters has retained the Thorstad name in their married

family name. Kathleen Elizabeth Thorstad Hedge, “Kathleen Hedge” or “Kathy”, Tom’s widow

has honored his memory by retaining the Thorstad name, after her re-marriage. All of Tom’s

brothers and sisters, except Barbara, live near their parents, and every Thorstad, remembers and

honors the memory of Thomas Thorstad. Every Thorstad expressed a genuine love for Kathleen




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Hedge, her husband and her new family. Every Thorstad expressed genuine love and concern for

both of Tom’s children, and every Thorstad including Kathleen Hedge, Tom’s parents and every

one of Tom’s surviving brothers and sister’s expressed their love of Ryan Thorstad and a

recognition that Ryan Thorstad has experienced and continues to experience profound emotional

trauma from the death of his father.

                                                  This detailed Thorstad family summary is possible

because only twelve years separated the oldest from the youngest Thorstad child. As the “older

kids” were going to college, getting married and having children, the “younger kids” came of age,

knowing Tom, witnessing his humor and experiencing the Thorstad unity, passed down from the

“older kids” to the “younger kids”. The Thorstad children always looked out for each other and all

enjoyed a full and happy childhood.

       The weight of this evidence paints a full, tragic, and compelling picture of both the

immediate emotional and psychological devastation felt by Tom’s family on October 23, 1983 and

thereafter. Today, twenty-one years after his death, Thomas Thorstad is remembered by every

member of the Thorstad family, each honor his memory, remember his morality, celebrate his life,

laugh at his humor, remember his passing, and all wonder how their lives and the lives of their

current families would have been enriched had Thomas Thorstad survived. Today the Thorstad

family remains a loving family unit, embracing Kathleen Thorstad Hedge, her husband, and their

children as an integral part of the Thorstad family.

       THOMAS PAUL THORSTAD (“Tom”), was born on July 18, 1956, he was the fourth

child of James Thorstad, Sr. and Barbara Thorstad’s eight children. Tom’s parents, brothers, and

surviving sisters each testified that throughout Tom’s tragically short life he was a loving and

caring person and was dedicated to his family. Tom possessed high moral and patriotic ideals. He




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loved and respected his parents; and all testified that he brought humor, excitement, entertainment

and fun to the Thorstad family.

       Patricia Thorstad Zosso (“Patricia” Tom’s youngest sister), summarized Tom’s personality

as follows: he had a great sense of humor, he clowned around all the time, he was funny, he was

animated, he had collections of strange things, he was the type of person who loved stupid pet

tricks. She testified that Tom took the time to teach her his favorite funny tricks, including the

rubber finger tick and the eyebrow trick. Patricia also described Tom’s attempt to teach her how to

play baseball. She described the time when he was teaching her how to catch a fly ball; she

recalled how she moved under the ball but lost sight of the ball in the sun, how that fly ball hit her

in the eye and knocked her unconscious, and how Tom carried her into the house, put her on the

living room couch, and put an ice pack on her eye. When Patricia regained consciousness, she

found, to her horror that she was lying on the living room couch where the children were not

allowed to play.

       Janice Thorstad Edquist (“Janice” Tom’s oldest surviving sister) testified that Tom knew

every detail of both the Guinness Book of World Records, and Ripley’s Believe It or Not. He told

corny jokes, imitated animals and played practical jokes. Janice testified that her brother Tom was

everyone’s favorite and Tom was great with kids.        Janice was protected from Tom’s jokes and

stunts because she knew that her brother was ticklish. Janice described how Tom and his buddies

would play in the swamp near the Thorstad home and Tom would bring back swamp critters to

their mother. Janice testified that Tom was great with their mother, and recalls that Tom’s habit of

following her around telling her jokes, even after his marriage and while visiting on leave. Janice

also testified that Tom could not stay mad at anyone long. James Thorstad, Jr. (“Jim” Tom’s older

brother) testified that one day the Thorstad family came home and found that Tom decorated the




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house and made small funny hats and put these hats on the family pets to celebrate their cat’s

birthday. Jim testified that his mother called Tom “Uncle Weird”. Kathryn Thorstad Wallace

(“Kathryn”) recalled her brother climbing to the top of a tree and swinging from treetop to treetop

in their back yard, apparently a common event. She recalls seeing him fall and hitting the ground

and him loosing his wind. She recalls her father going over to him on and picking Tom up by the

back of his pants, checking on him, and then dropping him in anger. Kathryn testified that her

brother Tom was always up to something, he was a lot of fun around the house, and he was an

active type of guy.

           Every member of the Thorstad family testified that Thomas Thorstad was highly

intelligent, and, had he lived, they believe he would have completed college and pursued a second

career in law enforcement. Thomas Thorstad graduated from high school in 1978, and began duty

with the United States Marine Corps at age 19. During high school, Thomas Thorstad expressed an

interest in becoming a Chicago Police Officer but he was too young for the police academy.

Thomas Thorstad then began to consider enlistment in the Marines in his junior year of high

school.

          Thomas Thorstad was always the top student in Marine training. After boot camp Tom

went to Military Police school. His first assignment was to the military police detachment in

Barstow, California. Thomas Thorstad was then assigned to embassy training and was assigned to

the U. S. Embassy in Luxemburg. In 1978 Tom met Kathleen Elizabeth Thorstad Hedge, f/k/a

Kathleen Elizabeth Thorstad “Kathy” or “Kathleen Hedge”, his future wife. They fell in love and

were married in a private ceremony, in Luxemburg in May of 1979. Tom, Kathy and Adam, their

infant son returned to the United States in June 1979. Thomas Thorstad’s second son, Ryan, was

born on February 15, 1982.




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          The Marines gave Thomas Thorstad a choice of assignments. He was offered a slot in the

Marine Officer Candidate School or an assignment and training in counter-intelligence. Thomas

Thorstad chose the counter-intelligence assignment. Once he was assigned to counter-intelligence

school, Thomas Thorstad’s training and duties were secret and he did not discuss them with either

his wife or family. When Thomas Thorstad went on duty assignments, his wife did not know

where he was going. During those absences, his wife and children stayed with Thomas Thorstad’s

parents in Chestertown.

          Janet testified that Tom did not have to deploy to Beirut because Ryan had health problems,

Ryan was diagnosed with cystic fibrosis and was prone to infections. Tom felt it was his duty to

deploy.

          Thomas Thorstad was killed, instantly on October 23, 1983 in Beirut from a terrorist

explosion in the headquarters building. Thomas Thorstad was 27 years of age at his death leaving

his wife Kathleen E. Thorstad a widow at age 23 with two sons age 4 and 2.

          Had Thomas Thorstad survived, he would have retired from the marines after 30 years,

completed college and become a Chicago Police Officer, Indiana State Trooper, or other law

enforcement officer.

          When Thomas Thorstad fell in love and married Kathy, he embraced his new role as

husband and father with dedication and enthusiasm. He incorporated his new family into the ever

expanding and maturing Thorstad family.            Kathleen Hedge and their two children were

immediately accepted by every Thorstad, and they are loved today.

          KATHLEEN ELIZABETH THORSTAD HEDGE (widow of the Deceased) “Kathleen

Hedge” or “Kathy” was born March 2, 1960, and she met her future husband in Luxemburg in 1978

while she was a student in living with her mother. Kathy was 19 when she married Thomas




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Thorstad; she became a widow with two young children on October 23, 1983 at the age of 23.

Kathleen Hedge remarried about two years after the death of Tom. In 2005, Kathleen Hedge

testified, in the presence of her husband Robert Hedge, “Thomas Thorstad was the love of her life.”

       Kathleen Hedge is also from a big family; her parents are separated, her father living in

Canada and her mother living in Luxemburg.

       Kathleen Hedge testified that her husband left for Beirut on May 8, 1983 for a six-month

tour of duty. He was scheduled to be home in early November and they planned to have a family

Thanksgiving and were looking forward to celebrating Christmas with the Thorstad family.

       Kathleen Hedge testified that her husband was able to call her three times; she recalls that

he wanted to return home and he sounded tired. His son Ryan was ill and Tom wanted to get home.

They exchanged letters often and Kathleen testified that Tom did not discuss the danger; she was

aware of the danger but she thinks he did not want to make her nervous.

       Three weeks prior to October 23rd Kathleen Hedge and her two boys went to Luxemburg to

visit her mother. Kathleen Hedge and Tom were planning on Tom getting leave and visiting her

and his sons in Luxemburg. Tom was advised that his tour had been extended into November and

he would not be getting leave. Kathleen Hedge testified that on October 23, 1983, she had just

returned from taking her boys to the park and James Thorstad, Sr. called to tell her of the bombing,

She went to the U. S. Embassy in Luxemburg to make sure they had her correct address, and since

her husband was a former embassy guard, the staff remembered her. She received no notification

for 3 or 4 days and was told that he was listed as MIA. On October 30th U. S. Embassy called her

and she was told to expect official notification, they were looking for a priest. She knew then that

he had been killed. She testified that she felt cold, alone and she had no idea what to do. Her

mother took her sons out of the house for the official notification and the Marines and a priest




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arrived and gave her official notification that her husband had been identified and was killed in

action.

          Kathleen Hedge testified that after this notification she did know how to tell her son’s, age 4

and 2, that their father was killed. The boys went to bed that night not knowing the tragic news.

Kathleen testified that both her sons woke up at 3 AM and told her that their father had spoken to

them, that he was in “jungle clothes,” and the clothes had blood on them. Both boys told their

mother that their father told them “he was not coming back and to be good boys for their mother.”

          Kathleen Elizabeth Thorstad Hedge testified that her memory of the next days and weeks

were a “blur” and she was “numb.”         She testified that she cried a lot, couldn’t sleep, and didn’t

know what to do. Her mother helped with the boys and urged Kathy to return to the United States

for the funeral. Kathy went to Germany and the military denied her military transport because she

was no longer related to an active duty member of the military. She returned to the United States

on a commercial flight arranged by Barbra Thorstad, who also arranged for special reception at the

airport. They stayed with Tom’s parents and Kathy remembers the media frenzy at the home. She

recalls it took a long time for them to find her husbands body and return it to Chestertown for

burial. She testified that she couldn’t work and was greatly helped by her current husband Bob,

when he returned from Beirut. She felt she was on autopilot and everything was a big blur.

Kathleen spent a lot of time with Janice Thorstad. Both Susan and Janice were married and had

started their own families with children approximately the same age as Kathleen’s two children.

          Kathleen Elizabeth Thorstad Hedge testified that she will never get over the loss of her

husband Tom. She testified that she drank too much and contemplated suicide but reasoned that it

served no purpose and her boys needed her. There is only so much a person can allow. She




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recalled receiving a $3,000 government check at a military base and no one on the base would cash

it. She testified that it took 8 or 9 weeks to receive any money.

       Kathleen testified her children have been robbed of their father. She testified that Adam

doesn’t want to talk about “Daddy Tom” and that she tried to discuss it with him for two years but

he doesn’t want to talk about it to this day. Ryan has trouble dealing with his father’s death. Kathy

testified that her husband was murdered.

       Every member of the Thorstad family embraced Kathleen Hedge. Every member of the

Thorstad family has embraced her new husband and their family. All accept Kathleen and Robert

Hedge and their children as part of the Thorstad family.

       ADAM THORSTAD is the first son of Thomas Paul Thorstad (Deceased) and was born

March 19, 1979 and he was four years of age when his father was killed in the bombing. Adam

Thorstad remembers his father but doesn’t remember his last meeting with his father.              He

remembers the funeral and visits with his grandparents.

       Adam Thorstad testified that he has spoken to his mother about his father “a little bit.” He

remembers his father trying to get his brother Ryan to climb a tree and while his father was

showing Ryan how to climb, his father lost his balance and fell on Ryan and had to take Ryan to

the hospital.

       Adam Thorstad believes his father was fun person and a good man and he holds on to his

few memories as best he can. He has a sense of loss and he has not shared his loss for the last 21

years. He is jealous of other children who have their fathers. His mother remarried after his

father’s death and it was hard for him in high school to accept his step-dad.




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        Adam Thorstad testified that he has spoken to his brother Ryan Thorstad about their father

and Ryan is upset because Adam has more memories of their father. Adam is sorry he doesn’t

remember his father voice.

        Adam testified that on a very few occasions he has spoken to his grandparents about his

father. They talk about what sports his father liked, what he was like as a kid, and whether they

have anything in common. He has spoken to his Uncle Jim about his father.

        After his father died, their family moved in with their grandparents. Adam remembers

being in a car at the cemetery. He recalls hoping his father would come back. He went to the

fifteen-year remembrance and is trying to come to grips with his loss. He wants to know more

about Beirut but he does not want to know the details.

        Everyone in the Thorstad family testified that Tom was very close to both his son’s and

spent a lot of time with Adam when he was home. Adam is sad because he has few memories of

his father.

        RYAN THORSTAD is the second son of Thomas Paul Thorstad (Deceased) and was born

April 15, 1981 in North Carolina. Ryan Thorstad was 2 years of age when his father died. Ryan

Thorstad testified that he has no current memories of his father; he only has impressions from what

other people have told him over the years. Ryan Thorstad knew his father was proud to be an

American and that he loved the Marine Corps. Ryan Thorstad has been told that he acts a lot like

his father.

        Adam is sympathetic to his brother and tells him when he is doing something wrong. Ryan

Thorstad has seen his father’s family and knows they are a big family.




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       Ryan stated that his grandparents don’t like to talk about his father because they know it is

hard on him. Ryan stated that he likes to talk about how his father lived but doesn’t like to discuss

how he died.

       Ryan’s mother, his grandparents and every one of his surviving aunts and uncles are

concerned with Ryan. Ryan is living with his mother’s family and is marginally employed. Ryan

had a scholarship to college but is grades were so poor that he did not complete college.

       John Thorstad (Tom’s youngest brother) testified that he was told that Ryan Thorstad was

not in contact with his mother or the rest of the Thorstad family. John Thorstad contacted the

college campus security and they located Ryan and John and Ryan spoke. John told Ryan that he

loved him.

       JAMES THORSTAD, SR. is the father of Thomas Paul Thorstad (Deceased) and he is

retired. Mr. Thorstad had training in chemistry and bacteriology and worked at the Armor and

Baxter labs. James Thorstad, Sr. grew up in Chicago, Illinois and attended Loyola University

where he graduated in 1951. Mr. Thorstad was married to Barbara Thorstad for over 50 years.

Together they had eight children.

       Mr. Thorstad remembers his son Tom and his brother, Jim, were very close. They were

almost like twins. Tom was not the best student but was very smart and wanted to be a policeman.

He told all his kids to be what they want and be the best they could be. Mr. Thorstad told his

children to keep the Thorstad name up; all you have is your name. From the time that Tom was 10

or 11 years old he said he wanted to be a Chicago Policeman. When he got into the Marine Corps

he said he wanted to be a State Policeman.

       While the Thorstad family children were growing up the kids thought they could pull stuff

over on the parents but they were good kids. The Thorstad children grew up in a small town




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atmosphere; they loved to go to the park in town and that was where there pool and sports fields

were located. Tom was a very good wrestler and he was never defeated. Tom was generally a B

and C student. Tom liked facts, the Guinness Book of World Records was his favorite; he could

even name every vice-president.

        Tom discussed going into the Marine Corps in his Junior or Freshman year of high school

when a recruiter came to his school. His father sent him a Notre Dame hat and said could have

seen him going there if he had not joined the Marine Corps. Tom was well liked in high school,

and everybody wanted him on their team.

        In the Marines Tom became a leader. While Tom was a slob growing up his brother Jim

was neat. Even the Marines did not make him neat. James Thorstad approved of his son’s decision

to go into the Marines and admitted he was probably not college material at the time, suggesting

that he should go to college afterward on the G.I. Bill.

        When Tom first joined the Marines he was in Military Police. Then he went to school for

the embassy, only 2% or 3% qualified for that opportunity. They visited him in California at

Barstow, in Luxemburg for his wedding, and then in Norfolk at the U.S. Intelligence. He was a

Marine all the way through. He would have been a career person. Brother Jim went into Marines

because he was proud of his brother Tom. Jim felt bad after Tom died and that lorded over him as

an officer.

        When Tom was on assignment in Luxemburg he met his wife. The family came to know

Tom was serious about his fiancé early on when and Tom sent his family a picture. Girls were

always buddies before this one. Tom had two boys and was devoted to sons and missed them when

he was away. Tom’s son Ryan does not remember much about his father but his older son Adam

does.




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       James Thorstad’s daughter Susan died in a tragic accident. The accident occurred after son

Tom’s death. Tom and Susan were very close; she was the big sister. James Thorstad cried as he

explained Tom and Susan’s relationship; “Susan grieved deeply over the loss of her brother, she

was a big sister to all of them.”

       Tom was not much of a writer and wrote home very sparingly but he would call his family

whenever he could to keep in touch. Tom said that Beirut was a schizophrenic place at the time.

Tom always said everything was fine, and told his family not to worry a bit, whatever you hear it is

just the news. They did not hear much from Tom during the last month before his death when

things got hot in Beirut. He was in counter-intelligence for the Marines, a spy. Tom was tight

mouthed about it and the family heard more information from his buddies after it was all over.

       October 23, 1983 James Thorstad, Sr. was not feeling so good.           He was downstairs

watching a movie and his wife listening to radio. She came downstairs and they put CNN on the

television. The situation in Beirut just kept getting worse and worse. Told the priest at the church

the family attended and he brought it up at mass. The protocol for the Marine Corp is that they

notify the spouse first and because Tom’s wife was in Luxemburg the Thorstad family were not

notified and they could not get a hold of her. The next weekend they got in touch with Tom’s wife

and then the Marines contacted the Thorstad family. The family had been trying to get information.

When the Marines came to the door they were surprised they knew about it. They thought Tom

was out on spy mission and after they thought he was helping to pickup the bodies of the wounded

and killed. Susan and family all got together on October 23rd and she was very worried. The

family cried for the other Marines because they did not think Tom was dead. They took out the

rosary and prayed.




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       Thomas Thorstad’s body brought home about the 8th or 9th of November, a week and a half

to two weeks before he was buried. It was a beautiful ceremony. The Major came and he and the

priest gave a eulogy. A singer sang the Marine hymn; the Marine Guard was there. The wake was

at the church because there were too many people in attendance to have it at the funeral home. The

community support made the Thorstad family realize that when people have problems you have to

go to them and be supportive. They always go to wakes now.

       During the next year the Thorstad family was all devastated but they realized that life goes

on. Tom’s wife, Kathy, lived with them for a while then she got her own place. Eventually she

moved east to marry. Tom’s sons missed their dad. Kathy did not let them go to funeral because

they were too young. She did not know how to handle a death in family. Tom’s son Ryan never

really knew his dad; Adam did to a degree. At the time of the funeral the boys were with their

cousins. When Ryan went to Luxemburg he was really affected, it brought it home for him. That

is why he is a little different today about this incident. Ryan was always a little different. He was

born ill and pampered a bit in some ways. Ryan was never treated the same way that his mother

treated his brother Adam. He is now living in the basement and they have a five-bedroom house.

Why? Kathy is different. All the Thorstad grandchildren that were alive at the time of Tom’s

death are still affected by the experience.

       Tom’s grave is in the Thorstad’s hometown and James Thorstad, Sr. visits it constantly,

making sure that it is kept up. The situation was made worse because Susan died shortly after

Tom’s death. “Why? It is the Lords way.” The holidays are rough for the Thorstad family.

Seeing Tom’s children is great. James feels they have something from Tom in the boys. Adam has

a great smile. The hole from the loss of Tom will always be there as long as they are alive.




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       Tom wanted to go through the Marines and come out and then go through college. All the

other Thorstad children have gone through college. Mr. Thorstad has no doubt that if Tom had

lived he would have obtained a college degree.

       The Thorstad family has been to quite a few memorials and anniversary ceremonies of the

Beirut bombing. It has been helpful for them to see people in the same situation and they have met

some of their son’s buddies from the Marines. Barry Eulic, a friend of Tom’s, is a member of

family’s church now.

       James Thorstad, Sr. had no indication that Tom survived the initial explosion. They thought

it at first but they learned that the building crumbled on him. The undertaker opened the casket

enough to tell the family that Tom was all there. Tom’s friend that recovered his body said that

Tom had already passed away when they found him.

       James Thorstad, Sr. would like justice to come out of this case. He is not a vindictive

person, “you cannot get the guy who did it.” Mr. Thorstad would like some sort of retribution to let

them know they are not very happy about this. Tom’s father would want to say that he cannot

forgive, even though he is a Christian, because they are still doing it today. “It just has to stop.

Why? They call it religion and it is not – it is just a vendetta.” They often think back what would

Tom be doing if alive. He would definitely enjoy his boys. There is a hole in his heart and in his

family. They carry on but it is rough.

       BARBARA THORSTAD is the mother of Thomas Paul Thorstad (Deceased). Barbara

Thorstad is married to James Thorstad, Sr. and they had eight children. Two of their children have

died. Tom Thorstad was killed in a terrorist attack in 1983 and Susan died in a car accident on

September 10, 1995. Tom was one of her daring babies that grew up to be an honorable man. Tom

had a loving wife but he loved his mother too. Tom had a sense of humor and enjoyed watching




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other people enjoy his humor. Tom and his father were devoted to each other. His father taught

him to be a man and a gentleman; they shared the most intimate concerns. Susan mothered Tom a

little bit. She was always the big sister, not bossy. Tom and Susan were close and loving. They

respected one another. If any of the siblings were closest with Tom it was his brother Jim. They

were loving brothers. They were both in the Marine Corps at the same time. Tom was best man in

Jim’s wedding.

       On October 22, 1983, a Saturday night, Barbara had the flu and was not feeling well and

went to bed early. She listens to radio with an earplug when she goes to sleep, after saying her

prayers. On that night she was awakened and shaken by a news conference regarding a bombing in

a four-story building in Beirut. Barbara went downstairs to tell husband to turn on CNN and get

news because there had been a bombing. They sat glued to television all night long. The number

of the dead kept climbing all the time. The next morning, Sunday, they went to church in shifts to

leave someone home to watch the news to see what heard. They hoped for the best and feared the

worst. They worked as a family.

       The Thorstad’s took Tom to Virginia on Sunday May 9th 1983. That was the last time they

saw their son. They spent the weekend and celebrated Barbara’s birthday and mother’s day. They

wanted Kathy and the boys to have as much time as possible with Tom so they drove him there in

the early morning hours. She received letters from Tom and the letters said how much he liked the

people he met in Beirut. The Marines went there as peacekeepers. He went with the others as

counterintelligence but he lived there with the rest of the Marines. He was out with the Beirut

people, sometimes in disguise. Occasionally he would say that there was night fire, the sky was lit

up, and it was kind of a common occurrence. They had a phone number they could call to inquire

about Tom’s status after the bombing and they called everyday and they were told there was no




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information. One gentleman said he could not tell them anything officially but to call back at a

certain time. They could tell they were not going to hear good news. Until then they could

imagine he was digging with his hands to get everyone else out. Son Jim, out of the Marines, said

if he were alive he would have to report in to someone. He was called missing. Their daughter-in-

law had to be informed first and she was in Luxemburg. That next Saturday they were informed by

someone from the Military coming to the house and telling them their son was killed. When they

were told that Tom was killed it was about five days after the phone call where they were told that

they did not have official news. He was the type of person that would have been trying to help

others. They were in contact with his wife, Kathleen. They called her that Sunday the 23rd to ask if

she had heard about the bombing. They did not want to alarm her. She had been out with the kids

and knew nothing about the bombing. She was visiting her parents for first time since Tom went

on embassy duty. Kathy would go over to Marine House every day to try to get information. It

was the next Saturday that she was officially notified. After she was at Marine House the same

fellow that said they knew nothing came to house and was in dress uniform to tell her officially that

Tom had been killed. Kathy was not given an escort. She and the children flew United Airlines

and arrangements where mad by Barbara’s sister to have special privileges to meet the plane at

O’Hare Airport in Chicago, Illinois. Everyone had exited the plane and there was no sight of Kathy

and the boys until finally they came off the plane alone.

       Kathy handled Tom’s death very stoically. Kathy has occasionally discussed the loss of

husband with her mother-in-law. Barbara wanted to talk about it more and she thought the children

should talk about it more. Kathy was only 22 and no experience with death. She did not know how

she was expected to act. She expected to live in their small town; because Tom loved the town and

wanted to be there she thought she wanted to be there too. Barbara loved Kathy like a daughter.




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She fit in between two of theirs, “a perfect little niche.” Kathy stayed with the Thorstad family for

six months. They fixed up their family room in the basement as their own private quarters. There

were no demands on Kathy; whatever she wanted to do was fine with Barbara. Barbara went back

to work, she was teaching. She would gently park the vacuum cleaner in one of the rooms as a

suggestion. Barbara felt sorry for her; she was just too young to have to go through such an

experience.

       Tom’s son Ryan does not speak much, he asks questions. He would rather listen. He has

always been very quiet. He is observant and listens. Barbara thinks Ryan would want to know

more about his father. Kathy has remarried and her new husband is the only father Ryan knows.

Ryan was Tom’s pet. Tom’s younger son Adam is more stable in his life. Barbara has spoken to

him. He knows where he is going and has more goals in his life. Barbara has always had favorable

conversations with Adam. Neither of Tom’s sons has ever rejected conversation about their father.

       Barbara and her husband have a large hole through their very being. Susan was one of the

nicest young ladies you would ever meet. To think she had some influence on Susan was always a

compliment to her. She was a nurse and has very caring qualities. Susan could put in a whole day

in hospital and then she would check on others that were not doing well and report to her parents.

She was so caring even though she was exhausted. She and her husband talk freely about Susan,

sometimes teary eyed and sometimes cheery.

       Barbara saw roof top surveillance in Beirut before the bombing. She knew they were

unarmed and peacekeepers. She knew they did not have ammunition. They knew there was

shooting and that it was dangerous. She even told Tom that she does not worry, she prays. She

conserves her energy until she needed it. Tom was out among the people not just sitting around

watching the bullets go by. He was not with the troops. She had no premonitions that this would




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happen. She did not sit and stew and worry. She prays daily and puts her loved ones in Gods

hands. She saved her energy in order to be able to give support to all her family. She was not

exhausted from worrying.

       She believes that Kathy is happily married and raising an extended family as she had three

more children and those children call Barbara and James Thorstad “grandpa” and “grandma” too.

They communicate with Adam and Ryan.             Adam has good direction.       Ryan seems to be

floundering. He was in college for three years. He just cannot seem to find his niche. Ryan stayed

with her Daughter Janet and she would have a better feel for how Ryan is doing with his life. Last

March Ryan came along to Luxemburg for the dedication of the Marine memorial for Tom. It was

nice to be one-on-one with Ryan during that trip. Ryan is living with his mother and stepfather.

       As to the lawsuit, the family has had a great loss and Barbara does not know what will come

of the entire situation. Is it going to change matters? Is anyone going to learn a lesson? Will

things continue?   Are things getting more violent and malicious? Barbara worries what the

children and grandchildren will have to face in this world.

       SUSAN THORSTAD HUGIS was a sister of Thomas Paul Thorstad (Deceased) and was

born on August 7, 1952. Susan was killed helping others at an accident scene in 1995. Susan

Thorstad was the oldest of the Thorstad children and went to nursing school and was a surgical

nurse. Most family members testified that Susan was the “Big Sister” to the Thorstad family and

her brother Thomas. She was “the quiet one” and served as a compass to her brothers and sisters.

Susan was known for her big heart.

       Susan Thorstad Hugis married and had three children; one of her children was autistic.

Susan’s autistic child was very difficult to control and created many problems for her and her

family. Susan also had to deal with serious marital problems and eventually she divorced her




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husband. Susan spent a great deal of time working on impact programs for families with autistic

children.

       Kathryn testified that the three older Thorstad sisters knew Kathy and Susan had a profound

understanding of what Kathy was going through. The entire Thorstad family testified that Susan

was a very loving person who suffered greatly when her brother Tom died.

       Susan Thorstad Hugis died when she stopped to help the injured in an auto accident. Susan

went to her car to make a call for an ambulance and after she got out of her car, while she was

walking along the side of the road, she was killed by a fluke accident. When another car drove

towards the accident and tried to stop a wire got caught in vehicle bumper and as the wire was

stretched it snapped the utility pole which fell on Susan killing her. Susan was initially conscious;

the medical staff induced a coma. Susan used 65 units of blood in 2 days. Susan survived for 2

weeks but brain damage became evident and the Thorstad family began to consider pulling the plug

and Susan died before they had to make such a difficult decision.

       JANICE MARIE THORSTAD EDQUIST is a sister of Thomas Paul Thorstad

(Deceased) and was born on October 7, 1953. Janice and her husband Daniel have seven children.

       Janice is second oldest of the Thorstad children and Tom was the fourth born three years

after Janice. Janice was tomboy and participated with the boys. The Thorstad children had lots of

fun. Tom was a good kid but not a good student. The teachers liked him. Tom wanted to become

a policeman; it was his lifelong dream. He brought his grades up so he could become a policeman.

Tom would recite from Guinness Book of World Records. Tom was always good with kids, a

practical joker. They always felt he was their mom’s favorite, but then he was everyone’s favorite.




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       Tom joined the Marine Corps while still in high school. At the time Janice was leaving

home to go to nursing school. It was post Vietnam and the Marines were not very popular but he

wanted to join and then go into the police academy. Janice followed Tom’s Marine Corps career.

       Tom and his dad were pretty close. Their dad got a new job when the family moved to

Chesterton, IN. Their dad is congenial but not emotional. Their dad was proud that Tom went into

the service; he would like to have gone into the service himself.

       Janice got word from Tom’s wife that he going to Beirut. Janice would see Tom’s wife,

Kathy, quite often when Tom was in various counter-intelligence training courses. The family had

not seen Tom in a while.

       Kathy gave the family a lot of information from her phone calls with Tom. The family

knew it was dangerous but they believed the Marines went to Beirut as peacekeepers. Tom was

offered an opportunity to opt out of going to Beirut because of his son Ryan’s illness but it was his

duty as a Marine and he went to Beirut.

       Tom and Kathy married and Kathy found stability with the Thorstad family. Tom felt

comfortable knowing that the Thorstad family would take care of Kathy and the children.

       Janice last saw Tom two years before his death when he was on holiday with the family.

       Janice’s mother called Janice when she heard about the bombing on the radio. She told

Janice to start praying now and told her they had heard there were a lot of casualties. After church

the whole family went to the parents’ house and prayed and stayed together. The news was

horrible. The Marines visited her parents. Janice had two children at the time of the bombing.

       On Tuesday they heard that the survivors should have called home by now. They heard

Tom was out for the night. Tom always escaped things, he seemed to have nine lives, and so they

thought he was okay. They even thought maybe he was captured. On Friday the Marines notified




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her parents that Tom was killed. The Marines told Kathy first and then their parents. It was an

awful blow because they had never lost anyone before like that. Janice’s mother was devastated.

She tried to be strong for the children and for the people who called. She was always strong and

gracious. She would support others when they had a hard time talking or dealing with the loss.

People came out of the woodwork to give support. They were a large family that was very

involved in a small town and the response from the townspeople evidenced that. The funeral was

in the church as well as the visitation because funeral home was too small.

       Tom’s widow Kathy moved in with the Thorstad family for a couple of months after the

funeral. Kathy never cried or talked about it and Janice’s mother was concerned about that.

Kathy’s children were the same age as Janice’s children and they spent a lot of time together. They

would stay up late and talk about Tom. At night Kathy would cry alone, she did not cry around her

children or anyone else.

       Older sister Susan was the quieter one in the family. She had a big heart and would have

Kathy over to spend time at her house. The family got to be with Susan when she died and it was

helpful because they did not even get to see Tom’s body when he died. Janice got everyone

together for a family picture at before Susan’s accident and the family is so glad they did.

       Tom wrote to Janice from Beirut. Tom wrote that the sniper activity was increasing. They

had guns but no ammunition and then they had ammunition and they were not allowed to shoot it.

He wrote that the CNN news people were in the way and did not understand that it was serious and

they were getting shot at. Kathy said Tom had said that something big was coming. They knew

there were several truck bombings at the time. Tom did say he knew that there was violence there

and something big coming and may not come home.




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        The whole family felt the same loss but some internalized it more. Sister Patty had drinking

and marital problems, at least in part because of Tom’s death. Patty went into a further downward

spiral after Susan’s death. Their mother had a collage of pictures of Tom and focused on Tom,

Janice even said that the rest of the kids need her attention. Mother said, “You mean I should not

grieve for my son?” Later they went to counseling. Father had drinking problem and went through

the 12-step program. He went off the wagon a few times after Tom died. Father was alone

working and he would drink and it made him sick. Mother is very organized and it is better for her

when she is busy. Kathy was bothered a lot by Tom’s death but she got remarried soon after to a

Marine that looks like Tom and the family likes him. Nephew Ryan worries Janice. He failed out

of college even though the Knights of Columbus paid for his tuition. Ryan never knew much about

his dad because Kathy did not talk about him. Ryan wanted to make a connection with his family

and find out about his dad and he knew Janice would talk about Tom.

        Adam was good looking, did well in school, and was always healthy. Adam paid for his

own college. Adam went to the twenty-year memorial with the Thorstad family. He was moved by

the experience and the treatment of the situation by the Marines. Adam remembers his Dad. Adam

knew it when his father died. At 4 ½ years old Adam told Janice that he talked to his dad last night

and he said he probably would not be coming back. This was when Tom was in Beirut. Adam

seemed accepting of his dad’s death. Adam said he did not remember the story about talking with

his father.

        Janice wonders why Iran chose to do that since soldiers not there to cause trouble. It was

not even in Iran. “Don’t they have families that love and care for them? Wouldn’t they be upset if

this happened to their families?” Janice has forgiven the person who did it and forgiven the

Iranians. “But why did they do it?” It is a devastating thing especially since they were there as a




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peaceful presence. “We lost a lot of good men including my brother; they could have done a lot for

this country. A lot of people affected by this.”

        Janice’s children have heard all the stories about Tom. They do not understand what

happened over in Beirut. Something is missing in their lives and the Thorstad family and they

know it. Janice’s daughter is just now starting to ask questions about Tom and others who died

before she was born. Janice’s third son is named Benjamin Thomas, after his uncle, and he likes

that.

        BARBARA THORSTAD WARWICK is the sister of Thomas Paul Thorstad (Deceased)

and was born on March 1, 1960. She and her husband have three children. Barbara Warwick

works with her husband and is the bookkeeper for their engineering consulting company and they

run a charity called Gift of Water. She has degree in veterinary technology.

        Barbara Warwick graduated from Chesterton high school and then attended Perdue

University with the hope of becoming a veterinarian. Barbara instead went into the veterinarian

technician program.

        Barbara is four years younger than Tom. In high school Tom graduated before she went

into high school. From what she remembers, he enjoyed school but was not best student. She was

one of the little kids in the Thorstad family, they were grouped into the big kids and the little kids.

They would chase each other around. Tom would dangle her dolls in the basement in front of the

dog. Susan was quiet and she and Tom got along well. Susan was older than Tom and was at

college. Jan is a spitfire and would get right in with the guys and argue. Jim and Tom in

competition and Jim always tried to better Tom. Tom was always just trying to do his best. It hurt

Tom when Jim graduated college and then went into the Marines. Biggest disagreements were

between Jim and Tom. Tom was a good big brother to her and the others.




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       Tom discussed joining the Marines. He joined the Marines after high school but had

worked awhile before he actually went into the Marines. He wanted to become a police officer

after the Marines.

       Barbara tried to keep in touch with Tom by corresponding with him. He wrote nice letters

and usually added something funny in the letters. He would share what he could and ask questions

about what they were going through at the time.             She and a friend visited him in Ayer,

Massachusetts, about one hour outside of Boston.

       Kathy and Tom married in 1978. Barbara learned that there was a secret because Kathy

was pregnant and they had a son.

       She had heard about sniper fire in Beirut. They were all trying to keep up with what was

going on. In one letter in particular, group Exhibit 41, dated July 24, 1983, Tom said he planned to

see them at Christmas. “Do not worry about the airport attack. It was not meant for the Marines.”

She knew he was in the close proximity to the airport.

       October 23, 1983, Barbara’s fiancé, Phil, had come to visit for the weekend and the night

before they were watching a movie, Taps. She went up to her room to sleep and Phil slept on the

couch. Her mother woke her up and she was crying. She had heard about the bombing just after

midnight but waited several hours until she woke the rest of the family up to tell them. Their

parents went to mass at 7:30 or 8:00 A.M. and the rest of the family took turns going to church,

always trying to have someone home, Barbara and Phil went to mass later. She was crying.

       Everyone was distraught. They saw the four-story building that went down. On Tuesday

they found out that Tom was missing. Friday they found out it was a good possibility that he was

in the building during the attack. Saturday they got official word that he had been killed. Most of

the family was there at her parents’ house when they got the news. There were visitors at the house




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all week. Barbara remembers that she heard them pull up and saw the Marines at the door. Not

something that you want anyone to ever go through. “Seeing uniformed men come up to the house,

you know what is coming.” Almost two weeks later that body came home, even though he was one

of the first pulled out.

        She was pretty sad at the funeral she cried through most of it. There were so many people;

people that they did not even know were there to be with them and to respect his memory. The

procession to the cemetery was a couple miles long, they must have waited 45 minutes for

everyone to get there. They heard there were people standing outside the church. The family felt

bad that they were there to honor him and they could not get in the church. Barbara did not believe

Tom was killed and she sent Tom a letter on October 27th in the hopes of hearing something if he

was still alive.

        So many people came to the family home and wanted to show them how they cared and to

be supportive. They were overwhelmed and it helped them get through it.

        Kathy was quiet and did not want to talk about it. They were all crying and she was not.

Barbara wondered, “How do they help the precious little boys?” Kathy had been in Luxemburg

with her mother and she had stayed with the Thorstad family previously. They knew Kathy but

were not sure what to do to help her.

        Adam says he remembers some things about his dad. Ryan was only two years old and

does not remember things. He wishes he could remember. He told them that he wanted to be

around the Thorstad family because they do talk about it. When Kathy cried 15 years later she

apologized for crying and Barbara said that it’s okay to cry because it shows that you loved our

brother.




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          Barbara understands that you must go on with life and you cannot get stuck in sadness or

pity. Even her friends wrote her lots of letters to be supportive. They were beautiful and caring

letters. The loss has made her a more compassionate person. She was 23 years old when Tom was

killed. She learned what it is all about to reach out to people. Some letters mention God and you

just do not see that very much in this world.

          Susan was quiet person and loving person that did a lot for others in her own little quiet

way. At her funeral it was like a repeat of Tom’s funeral in terms of the people reaching out.

          Barbara’s parish has a mass book and she has made a donation to have mass said in her

brother’s name. She has not been consistent with it but tries because she lives away from the

family. She prays for him on his birthday. And he tries to talk to Kathy too.

          Barbara and her husband have dedicated the charity, Save the Water, to brother Tom and

sister Susan. Barbara’s children know Adam pretty well because Adam lived in Melbourne,

Florida for a while. Tom would have been in her wedding of he had been alive. It was hard on her

parents, especially her mom, to plan her wedding. They were not in the mood but knew they had to

go on. It was hard to be excited about anything. Adam was the ring bearer in their wedding. “You

plan all through your life that your brother is going to be at your wedding and then he is gone.

          They never got to see Tom’s body so thought maybe it really was not him. It may be weird

but she thought maybe he would just show up one day. “You know that it may not happen but you

wish he would just be there.” She lost 25 pounds after Tom died and it was scary to lose too much

weight.

          Barbara would ask Iranians “why?” “What causes people to hate other so much to cause

them to do something like this?” She cannot understand it. Tom’s loss is such that twenty-one

years later they still all cry and feel so sad. It was a strange way for someone to die. Her parents




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are strong people and have strong faith and that helped the children to be strong and look for what

they could learn from tragedy. For her and her siblings the thing they learned it is to reach out to

other. She does not dwell on it but just tries to do her best to make the world a better place.

          She has gone to Jacksonville to the memorials and doing that is important to her. Every five

years there are more people that come to the remembrance ceremonies. Many people that are

attending the memorials lately are survivors and just could not come to the remembrances before.

She and others found themselves consoling them. There was a Marine there that was present when

they pulled Tom’s body out and he said that he died instantly and did not suffer. Survivors were

there to take care of their buddies. That Marine is now a minister in a church.

          PATRICIA MICHELLE THORSTAD ZOZZO is a sister of Thomas Paul Thorstad

(Deceased) and was born on May 12, 1962. Patty was the seventh Thorstad child and Tom was the

fourth.

          Tom was a clown, real funny, real animated, like stupid pet tricks he would have created a

show like that. Tom was always fun; he was the big brother and protected the younger Thorstad

children. Once Tom was playing softball and ball hit Patty in the head and he carried her inside

and put her on the couch and took care of her. When she came to consciousness he said, “that is

not how you do it.” Tom was playing with his team, the Wake Robin Weasels, and there was a

storm coming and she yelled for him and he came running and stayed with her because she was

scared. Patricia knows Tom could not have heard her scream because he was too far away.

          Tom taught Patty tricks. Tom could wiggle his ears. Tom had a lot of friends in school,

mostly guy friends. Tom dated in school but hung out with the guys more. Tom had girlfriends but

did not date a lot.




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          Tom is still remembered by the people in Chesterton, Indiana. One particular friend, Kevin,

will not talk about it much but his father just died this summer and after the funeral he said he

wished Tom were there for him.

          Tom and brother Jim were really close but with a lot of sibling rivalry. They each wanted

to do what the other did but better. They were both in the same sports and Jim tried to show up

Tom because he was the first-born. Jim had a hard time after Tom died, he said he should have let

Tom do things and not try to always better him. Jim regretted that he felt he had to be an officer

and Tom enlisted right out of high school.

          Sister Susan was oldest. She was the big sister that took care of everyone. She always had

something nice to say. She did not pass judgment. She and Tom were a lot alike in the way they

cared for other people. Susan was proud of Tom’s boys. She got Tom’s boys all police uniforms.

Susan had three children. Her daughter Julie just had a baby girl and named her after her mother

Susan. Son Doug is autistic and Susan had to put him in a home when he got too big to handle. It

never surprised anyone that Susan stopped to help the person in the car accident when the pole hit

her causing her death. Susan’s and Tom’s children are all loving people; they are how they were

raised.

          Tom went into the Marines because he wanted to be a police officer and he had a feeling for

what was right and wanted to do what was right. Tom was very patriotic. Tom did very well in the

Marines because it interested him; he liked it and put his heart and soul into it. Susan’s son is 16

years old and he wants to go into the Marines like his uncle Tom.

          Tom went to Beirut to make peace. He never mentioned it would be dangerous. He said

the media made it sound worse. He was fully aware of what was going on in Beirut but he wanted

to keep the families hearts and minds at ease.




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       Kathy and sons Adam and Ryan were with Thorstad family a lot. She was happy-go-lucky

like Tom. Patty spent a lot of time with Kathy and the boys. The boys meant so much to Tom.

       In a July 24, 1983 letter from Tom to Patty, Tom mentioned recent attack but said it was not

as bad a media made it to be. “Everything is okay. Planned to be home in plenty of time for

Christmas. I’m looking forward to that. …” Tom would say that it was not safe but at the same

time he would say it was okay. He was trying not to upset anyone in the family. You could sense

in the letters that things were getting worse but he would then say how good the people were there

in Beirut.

       Patricia found out about the attack when she was in bed and their mother yelled Tom’s

building was bombed. All the lights were on in the house. Their mom slept with the radio,

listening through headphones, she heard about the bombing and woke everyone up. Patricia’s

memories of that morning and the next days are very vivid. Within a few days after the bombing

the family got word from the Marines. The family knew it was Tom’s unit. There were lots of

prayer vigils going on at church. The family made sure there was always someone at home at all

times for telephone calls and news. The day they were told he was identified they went to church

and Patty stayed home. They got a call from the Marines that his body had been identified. Patty

took the call, she was home alone. She called the church rectory and her parents were on their way

home. When they came in the door, her parents, brother & sister, Patty told them his body had

been identified. She vividly remembers her parents’ faces. They had been strong and positive. But

the longer it went the more they would come up with reasons for the time passing and not hearing

about Tom. Patty’s mother just melted and her dad, who always finds the good in people, turned

completely gray and fell to his knees and her mom was trying to comfort him.




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       The neighbors very supportive, they were everywhere. It was constant visitors, telephone

calls, and cards. No one knew what to say they just knew that being there would make it better.

They all brought as much food as they possible could. It went on for weeks and weeks. Patty

cannot remember that last time anyone in Chesterton had died in a war. People came that wanted

to meet the family and tell them they were proud. Patty was in school at time and her professor

said to take as much time as needed, school can wait.

       The visitation at the church was two days long. There were lots of tears but also lots of

love. It brought people in their town together patriotically and spiritually. Tom is buried right

behind the flag in the town cemetery. Each year for the 4th of July celebration her father makes a

speech and people come up and hug them.

       As time has gone by the pain does not go away. It got harder after her sister died. Patty’s

husband knows she still gets sad whenever she hears “God Bless America” or Taps. IT makes her

cry. Whenever Patty is having a hard time she goes to the cemetery.

       Patty would like this litigation to make someone accountable and for the terrorism and

senseless killing just to stop. She does not really understand. It does not make sense to her – a

terrorist should write a book and explain it. We were raised to believe “thou shalt not kill.” It

should be said that they did not die in vain. The family is disgusted. And they have all agreed to

participate in this litigation in memory of our brother and his children and the other families.

Patricia would want to ask the Iranian leaders that are still involved with government – “why? It

doesn’t change anything. It did not accomplish anything. Why take innocent, loving human

beings.” No one in the family is harboring hatred for what happened. It is what God intended.

Tom and Sister Susan were both good Samaritans.




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       The Thorstad parents buried two children and a grandchild. They will never get over the

loss. Brother Tom was a good man, loving person, father, brother, son, and uncle. Her children

never knew their uncle but they talk about it in their history classes to people that did not even

know him or know about the bombing. So many other men and women are losing their lives. Her

children want to be like their Uncle Tom because they know what a difference his memory has

made in their lives. There really is no way to deal with the loss. Patty wishes there were more

information available to the children and not just word of mouth from the families involved.

       JOHN THORSTAD is a brother of Thomas Paul Thorstad and was born May 19, 1964. In

October, 1983, John was in college. John was 8 years old when Tom joined the Marine Corps.

John testified that Tom was a wonderful man who was always joking. John looked up to Tom, and

knew Tom wanted to be a police officer and help people.

       John remembers Tom’s first leave after joining the Marines, riding with him with a shaved

head and starched uniform. When Tom was home he always had time to talk to John and often told

him he loved him. When John turned 17 years old he thought he wanted to go into the military.

John scored well on the military aptitude test but John’s parents didn’t want John to join. John

asked Tom for advice; Tom told John that if he really wanted to join he should go ahead but Tom

recommended that John not enlist. John chose not to enlist.

       John was 16 years old when Tom’s son Adam was born. John was 18 when he last saw his

brother Tom. John saw his brother last when he went on a trip to pick up his mother in Virginia.

Their mother was staying with Tom and Kathy after the birth of Ryan.

       John knew that Tom didn’t have to go to Beirut but he went without hesitation. Tom liked

counter-intelligence. Tom and John exchanged letters, John thinks about his brother every day. At

the 20th year Beirut reunion John spoke to veterans who knew his brother and Tom’s friends were




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proud of the Thorstad family. John couldn’t put his brother’s death behind him until that 20th year

anniversary.

       John believes that Tom was his mother’s favorite child. Tom goal was to make his mother

laugh; he brought spirit to the family. John remembers Tom was interested in all his brothers and

sisters, and Susan and Janice were the “mother hens” to Tom. John believes that Tom, Susan, and

Janice had a special bond. John testified that his sister, Susan, was the most wonderful lady he has

ever known. Tom and Susan were as close as you could get as brother and sister, and Tom and

Susan regularly exchanged letters. Tom’s death crushed Susan, Susan had young children at the

time and she offered to help Kathy.

       John’s father woke him up at 5:00 A.M. and told him about the Beirut bombing; his parents

had been up since 2:00 A.M. listening and watching the news. John remembers the family just got

cable television. The new stories were amazing; the pictures showed a flattened building and John

first thought that there were no survivors.

       The family knew Tom was in counter-intelligence and thought he was probably on a spy

mission. The newscast reported that some Marines rode the roof down and survived. The Thorstad

family was hoping that Tom would call or that they would get notification that he survived. For

days the news reports said they thought there were still survivors in the building. The Thorstad

family watched CNN minute-by-minute and went to church every day and prayed for Tom. John

was so devastated by Tom’s death that he was unable to return to school.

       The newscasts showed the bodies of the Marines on the ground and John though he saw his

brother Tom’s body. Tom had a distinctive chipped tooth which John though he saw. The family

received a call from the local Marine unit advising they were planning a visit. John remembers his




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father crying for the first time when Tom died. The Thorstad family came together and rallied for

the next two weeks through the funeral.

        John didn’t really know Kathy. They had met only five times; Kathy was only one year

older than John. John knew that Tom adored Kathy. Kathy lived in the Thorstad basement for five

or six months and didn’t talk about Tom. Kathy became a real member of the Thorstad family.

Tom’s son Adam was light of Tom’s life; he always had a smile and was a great kid

                Tom’s son Ryan was a different story. About a year and a half ago, James Thorstad,

Sr. called John and told him that Kathleen Hedge couldn’t locate Ryan, he wasn’t in contact with

his family and Kathleen Hedge had asked for his help. John called the school Ryan was enrolled in

and then John called the chief of police and asked him to help him find Ryan. About two hours

latter Ryan called and John told him that he loved Ryan and that a lot of people were worried about

him. Ryan stayed with John for a few weeks and wanted to know about his father. Ryan spent a

lot of time asking questions and went to the gravesite. Susan is buried next to Tom and both John

and Ryan began to cry and they hugged each other. Ryan has still not recovered from the affects of

the loss of his father.

        JAMES ANTON THORSTAD, JR. is a brother of Thomas Paul Thorstad and was born

on July 7, 1955. Jim is the third oldest Thorstad child and Tom was the fourth.

        Every Thorstad testified that Jim and Tom were very close. Jim and Tom shared the

downstairs bedroom and they were known as the Felix and Oscar of the Thorstad children. James

Thorstad, Jr. testified that they drove the same car, had the same friends, played the same sports,

and went to the same school. Jim testified that Tom had a great relationship with his parents and

took special care of his sisters.




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       James Thorstad, Jr. testified that when his brother came home from boot camp, they

expected him to have changed his ways, but they were mistaken, the room was a wreck. That

changed when Tom was accepted into the military police and later into embassy duty. Jim visited

his brother in Barstow before Jim went into the Marines.

       James Thorstad, Jr. graduated from college, got married, and became an officer in the

Marine Corps. Jim spent five years on active duty in the Marine Corps and another ten years in the

Marine Corps Reserve. Tom was best man at Jim’s wedding on January 14, 1978, and Jim testified

that every person at his wedding was at Tom’s funeral five years later.

       James Thorstad, Jr. and his wife visited Thomas Thorstad and Kathleen Thorstad in

Virginia prior to Tom’s deployment to Beirut. At the end of the visit, Jim testified that his brother

kissed him for the first time. Jim asked him if it was that bad and Tom said it was. Tom told his

brother that he would be dealing with an unknown enemy, an enemy that could be everywhere,

Tom’s job was to deal with civilians every day and it was very difficult. Jim and Tom exchanged

letters while Tom was in Beirut and Tom confided to Jim that conditions were getting worse. Jim

was watching Nightline on Television and they discussed Beirut, Jim wrote Tom about the

television program.

       Their dad’s relationship was as a weekend father. Dad was very loving to Jim and Tom and

treated them as young men very early. Their mom thought of Jim & Tom as the guys that carried

her through the day.

       Tom wanted to be a Chicago policeman and began the Marines as MP – he took it serious

and grew up immediately. For Tom the embassy duty was spit and polished duty. Tom matured

quickly. Jim entered Marines Feb 1975 and remained in the Marines until November 1974. During




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that period Jim saw Tom infrequently, almost never. They were in opposite ends of the world. Jim

did visit Tom in Barstow, California with his sisters before Jim went to boot camp.

       Tom met his wife Kathy in Luxemburg; she was Canadian. Tom and Kathy had two

children and it was like that little family thing. Tom was very proud of his family.

       Tom’s son Adam and Tom were so close. Tom was so proud of him. Adam is handsome

and was a poster baby. Tom was home at that time and able to do everything with him. Adam has

many memories of Tom. Tom’s son Ryan was younger and Tom was away a lot after Ryan was

born. Tom spent quality time with his children when he was home but he did not have the same

bond as with Adam. Jim would have adopted them if there were a chance. Jim’s wife was very,

very close to them. When Kathy moved she and her children away it took away the last connection

to Tom.

       Tom’s death affected Ryan very much. The entire Thorstad family would say Ryan was the

biggest victim of the bombing. Ryan has no cognitive memories of Tom. Even though Kathy

remarried Kathy always referred to “Daddy Tom” and “Daddy Bob.” Ryan had no real knowledge

of his own father. Jim gave Ryan some stuff from Tom, a keychain, a wallet, and some old

underwear. Jim still has some things to give the boys later when they are old enough. Ryan has

disassociated himself from the memories of Tom.

       Kathy described Tom as the love of her life. Jim agrees with that description. Kathy could

have married anyone she wanted because she was a good person and very attractive. Kathy’s

second husband Bob is always a gentleman and served with Tom in the same Marine unit. Kathy

was very in love with Tom and Tom was totally in love with Kathy. They both lost a lot with

Tom’s death. Kathy is lucky to have found Bob because he has stepped in and carried Tom’s

legacy in a manly and proud way.




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       Jim was working as a mechanical foreman at Inland Steel in East Chicago in October 1983.

It was a Sunday morning and the phone rang at 6 A.M. and Jim’s parents told him he should turn

on CNN because the Barracks in Beirut had been bombed. There was sketchy coverage at first.

Saw the news and it was rubble and flames. They could see there were still sirens and a lot of

commotion going on. The entire family went to church and sat in the same row, normally would be

in different rows, for the first time in his life he heard his father cry. His father was sitting next to

him and just weeping.

       So many bodies under the rubble it took days to uncover the bodies. The Marines did not

release information about the dead at the time instead they just said they were missing in action.

Tom was normally away from the barracks a lot and the family hoped Tom was away that morning.

Jim called a couple times and Marines were very consoling and said his brother was still missing

and they could not confirm or deny if he was dead. Over a week later the Marines called and said

that Tom was dead. It was confirmation of their worst fears but not as bad as first few days

because each of the family knew deep down that if they had not heard from Tom within the first

few days then he was killed.

       Jim recalls that his mother was a wreck but he expected that from his mother; she and Tom

were extremely close. What Jim did not expect was how deeply affected his father was by Tom’s

death. His father always said that men do not cry and yet he was crying.

       When remains came home Tom’s best friend Steve was his guard, the Marine send a Marine

guard back with the body. Steve stayed with Jim and his wife. The wake was at the church. It

was the biggest wake you could have and it was on November 10th, the birthday of the Marine

Corps. All of the family members’ friends came to the wake and many people the family did not

know. At funeral there was a twenty-one gun salute and full Marine Corps honors. American flags




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were presented to his Mother and his widow, Kathy. The ceremony was as beautiful as could be

yet solemn and tearful.

       During the first year after Tom’s death the pain stayed with Jim constantly. For those who

live in that small town the pain is always there because Tom’s absence is obvious. Tom is buried

right at the flagpole in the town that the American Legion erected in his honor. Jim passes it every

day and salutes him. They toast him all the time. They buy Tom’s brand of beer and leave the cans

for his mother to find with the explanation that they were saluting a fallen brother and toasting him.

Now their mother would wonder if the beer cans were not there on significant dates and

anniversaries. Jim was pretty well grounded. No nightmares since able to talk about it and cry

about it. Tom lives with Jim and is with him everyday. Jim named his son after Tom.

       Sister Susan, deceased, was the oldest and raised the Thorstad children. She was the sibling

guiding light, a tremendous person. Susan suffered greatly when Tom died. Jim thinks of many

things he wished he had said to his brother Tom and many things he wishes he had done with his

brother. Susan passed away in 1995. All the Thorstad siblings talked a lot about their loss. Jim

internalized his feelings for a year or two until he was comfortable and a reverent time to talk about

it. After he was finally able to talk about the loss of Tom the hurt and pain eased a bit, then you

pray to him, and then you speak to him. When parents could talk and laugh about the fun stuff it

became all right for the children to feel a bit more at ease. Jim cannot usually talk about Tom

without crying.

       Jim is not member of any Marine Corps group for the Beirut bombing but gets together with

Marine buddies and handles it that way.

       Jim would want to see this litigation bring world peace, more government disclosure, and

more diplomacy throughout the world. People that did this should be brought to justice but he is




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not sure if can point to one person there. Things are not always fair; we need to look at the other

side of things, like the sovereignty over there. His mother said if the leaders were women they

would not go to battle until it is the last option. In Beirut we were the peacekeepers and became the

military target. Jim believes that we should not send our military to be peacekeepers, that is not

what they are made for; they should not go in without combat orders.

       Jim’s message to Iran and people involved was different because Jim was foreign exchange

student in Iran. He believes the Iranian people are beautiful people. They emulated everything Jim

did and that the U.S. did. Two types of people in Iran, the fundamentalists that use God’s name to

do injustice and the ones that want to enjoy life. As soon as they take religion out of government,

like we did, the sooner the problems will end. The separation we did here hundreds of years ago

was very wise.      Seventy-five percent of people in Iran do not like their representation in

government. People do not want to give up the daily social freedoms and go back to some ancient

lifestyle that has no validity in today’s world.



                                     CONCLUSIONS OF LAW

       (1) Wrongful Death.

       The Plaintiffs produced comprehensive testimony from Dr. Jerome Paige detailing the loss

of accretions to the estate of each person. These calculations are conservative and the amounts set

forth in the report have been established without question. The Special Master concludes as a

matter of law that judgment should be entered for this element of damages for the Estate of Thomas

Paul Thorstad in the amount of $1,921,086.

       (2) Survival Action – Pain And Suffering.




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       There is no evidence from which it could be concluded that the decedent endured bodily

pain and suffering after the attack and prior to his death.

       (3) Solatium.

       The Foreign Sovereign Immunities Act provides for an award for solatium consisting of

emotional injury inflicted upon persons other than the decedent by the actions of the defendants

and/or their agents. As the Court noted in the Flatow case, id., this is an item of damages which

belongs to the individual heir personally for injury to the feelings and loss of decedent’s comfort

and society. The unexpected quality of a death may be taken into consideration in gauging the

emotional impact to those left behind. In this case the impact upon the parents and siblings was

devastating. The Special Master concludes as a matter of law that the following amounts are

appropriate compensation for this element of damages: Kathleen Elizabeth Thorstad Hedge

(Widow) – 15,000,000.00; Ryan Thorstad (Son) - $15,000.000.00; Adam Thorstad (Son) -

$15,000,000.00; James Thorstad, Sr. (Father) - $15,000,000.00; Barbara Thorstad (mother) -

$15,000,000.00; Estate of Susan Thorstad Hugis (Deceased, Sister) – $10,000,00.00; James

Thorstad, Jr. (Brother) - $10,000,000.00; Janice Thorstad Edquist (Sister) - $10,000,000.00;

Kathryn Thorstad Wallace (Sister) - $10,000,000.00; Barbara Thorstad Warwick (Sister) -

$10,000,000.00; Patricia Thorstad Zozzo (Sister) - $10,000,000.00; John Thorstad (Brother) -

$10,000,000.00.



Date: June 20, 2006


                                                              ________________________________
                                                              Loraine A. Ray,
                                                              Special Master




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